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     Exhibit 398
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·1
·2
·3·     · ·Absolute Interference (Mike Lindell 2021)
·4                           •     Pt. 3
·5
·6· ·Https://app.criticalmention.com/app/#clip/view/db1d75ff-6
·7· ·bfd-4516-a316-7855464e1631?token=740123d8-c29e-4556-8b4d-
·8· · · · · · · · · · · · ·8f8401d86700
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·1· · · · ·INFORMANT:· -- records anything that's
·2· ·transmitted over Wi-Fi in its immediate vicinity.
·3· · · · ·Now, what we found with the Raspberry Pi
·4· ·Zero is, is we found hidden SSIDs, and
·5· ·questionable MAC addresses; so this is important.
·6· · · · ·We found them not in one, but six different
·7· ·precincts in three different counties in Georgia,
·8· ·Cobb, Gwinnett and Fulton, on the January 5th
·9· ·runoff.
10· · · · ·The phones were connected to the Internet
11· ·via the TCL flip phone.
12· · · · ·Mike, you have the first Absolute Proof,
13· ·you know where we had the wide-area networks; well
14· ·now here's the other half of the LAN, the
15· ·local-area networks, at the precinct levels.
16· · · · ·We found that at the precinct levels, they
17· ·were connected to the Internet, and TCL was one of
18· ·the IP addresses that we traced back to China
19· ·during the steal.
20· · · · ·In fact, Mike, TCL accessed over 150
21· ·election servers in 14 different states, including
22· ·multiple Secretary of State networks, according to
23· ·my data that I collected and other corroborating
24· ·sources.
25· · · · ·MIKE LINDELL:· So what you're saying, John,


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·1· ·this actually even shows more evidence of -- of a
·2· ·state-owned company right out of China attacking
·3· ·us directly with all -- through the Secretaries of
·4· ·State, their computers, the -- the machines, using
·5· ·these cell phones that were owned by China as
·6· ·Internet devices.
·7· · · · ·INFORMANT:· Mike, what we're saying is, we
·8· ·have verified connection to the polling pads with
·9· ·China by this TCL flip phone.
10· · · · ·We also have the absolute proof of
11· ·interference by the fact that we have
12· ·transmissions that go back to this Chinese
13· ·state-owned company, TCL.
14· · · · ·We have the absolute proof of their
15· ·incursion, their illegal incursion, into 150
16· ·election servers in 14 different states, including
17· ·multiple Secretary of State offices.
18· · · · ·China chose Biden, not the American people.
19· · · · ·MIKE LINDELL:· So you have China, you have
20· ·the TCL company, you have the machines, your
21· ·Dominions, your Smartmatics, you have these; you
22· ·have cell phones that went onto the Internet,
23· ·owned by the Chinese company TCL?
24· · · · ·INFORMANT:· Yes, sir.· What I am saying is,
25· ·we have multiple sources that are recording this


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·1· ·at the exact same time, showing matching MAC
·2· ·addresses and matching IP addresses, for devices
·3· ·communicating with this TCL company in China.
·4· · · · ·MIKE LINDELL:· Well, now we're going to
·5· ·welcome back two guests that were on Absolute
·6· ·Proof:· General McInerney and Colonel Phil
·7· ·Waldron.
·8· · · · ·And we all remember during that -- the last
·9· ·third of Absolute Proof that had all of these IP
10· ·addresses, IDs of computers, who attacked, what
11· ·country it came from; and we put this out there.
12· ·It was evidence that had never been seen before,
13· ·and proved an attack on our country, mostly by
14· ·China.
15· · · · ·So I want everyone out there to know, none
16· ·of the mainstream media, none of them, you know,
17· ·said -- refuted everything; they just went
18· ·completely silent on us.· They didn't say the --
19· ·you know, that the evidence was wrong or didn't
20· ·refute it or anything.
21· · · · ·But I did hear from people going:· Well,
22· ·have you validated these IDs and these I- -- IP
23· ·addresses and stuff; so, is there news on that?
24· · · · ·COLONEL PHIL WALDRON:· Yes.· Our team
25· ·started, basically, doing an independent


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·1· ·verification of the -- the IP addresses and
·2· ·looking at -- focusing on, you know, the
·3· ·battleground states and those areas that seem to
·4· ·have the biggest impact; that's -- that's the
·5· ·piece that our team -- our white hat hackers have
·6· ·started working on, at least to confirm the IP
·7· ·addresses and the -- both the U.S. and the foreign
·8· ·IP addresses, for the most part, in areas where
·9· ·the -- the attacks or the interventions were
10· ·successful, those have been verified.
11· · · · ·MIKE LINDELL:· You said that you -- that
12· ·you even checked some overseas, huh?
13· · · · ·COLONEL PHIL WALDRON:· Correct.· And -- and
14· ·the point that you just made on independent,
15· ·multi-party validation is really, really critical,
16· ·using -- using different tools, using different
17· ·suites in software; so that's a -- that's going to
18· ·be really critical that all of that information
19· ·folds in together.· And there's multiple
20· ·validations for the -- you know, for the foreign
21· ·interference.
22· · · · ·MIKE LINDELL:· Right.· And that's what
23· ·we're going to show in five-six weeks as we dump
24· ·all the evidence to the public and show the world
25· ·all the evidence when it -- by the time it gets to


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·1· ·the door of the Supreme Court, and we put this
·2· ·case there, all nine of them are going to say:
·3· ·Wow.
·4· · · · ·General McInerney, what happened to our
·5· ·country on January -- or on November 3rd?
·6· · · · ·GENERAL MCINERNEY:· Well, we had the most
·7· ·massive cyber warfare attack, Mike, in history on
·8· ·our electoral system.· It -- there's never been
·9· ·anything of that magnitude.
10· · · · ·We have precise examples and evidence for
11· ·the Supreme Court and -- and any other court in
12· ·the whole world, it is very precise.· And it shows
13· ·the magnitude led by the Chinese Communist Party
14· ·as a foreign entity --
15· · · · ·MIKE LINDELL:· And these machines now --
16· ·allowing for this foreign interference, we've been
17· ·all the way back to Venezuela, when the machines
18· ·first came in and it took only two years for them
19· ·to completely take Venezuela.
20· · · · ·I think it's all getting shown to everyone
21· ·that what communism and socialism is like now with
22· ·our -- their cancel culture, taking away our free
23· ·speech, and -- and all this -- and taking away our
24· ·freedoms.· What an easier way to do it, like you
25· ·said, with -- you know, introducing a virus, a


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·1· ·pandemic that's going to keep everybody -- take
·2· ·our freedoms away and -- and, once again, put fear
·3· ·into everybody.
·4· · · · ·They have a world agenda, don't they?
·5· · · · ·GENERAL MCINERNEY:· Absolutely, it's a
·6· ·global agenda.· They demonstrated what they did to
·7· ·the global economy, and it's specifically the
·8· ·leader in national security in the world, with the
·9· ·United States, and look who they put in?
10· · · · ·MIKE LINDELL:· Right.
11· · · · ·GENERAL MCINERNEY:· And as you said,
12· ·socialism is the front door to communism.
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·GENERAL MCINERNEY:· And Venezuela has seen
15· ·it; they're using the same model --
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·GENERAL MCINERNEY:· -- Mike, and it's your
18· ·leadership that has enabled us to put out
19· ·(inaudible) group together and get Brannon Howse
20· ·and Mary Fanning, and all these people, Colonel
21· ·Phil, to show the American people what has
22· ·happened to them, and they've got to take their
23· ·country back.
24· · · · ·MIKE LINDELL:· What we're going to do is,
25· ·we're -- we got this new social media platform,


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·1· ·because obviously they've been taking every- --
·2· ·all the influence in the country off (inaudible)
·3· ·suppressing their speech; but this new platform
·4· ·called Frank is going to -- everyone is going to
·5· ·come on there, all the influencers, and they're
·6· ·going to be able to talk about Dominion and
·7· ·Smartmatic, and communism coming into our country,
·8· ·and talk about the vaccine.
·9· · · · ·COLONEL PHIL WALDRON:· Something that
10· ·General McInerney said was -- is very, very
11· ·important, that -- that the viewers can go look
12· ·up, this is the Chinese doctrine of unrestricted
13· ·warfare, and this goes back to the writings of Sun
14· ·Tzu and Mao Zedong in -- in the communist
15· ·revolution.
16· · · · ·So these doctrines are -- are there.
17· ·They're there for people to -- to look at.· They
18· ·can go to -- probably to Barnes & Noble and buy
19· ·Moa's on Guerrilla Warfare; which is a -- a very
20· ·good primer on what -- what happened to the --
21· ·China as the -- the communist revolution took
22· ·place.
23· · · · ·This is cyber warfare.· This is the Chinese
24· ·doctrine of unrestricted warfare.· And it goes all
25· ·the way back to the writings of Sun Tzu, the --


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·1· ·the acme or the pinnacle of war is to win without
·2· ·fighting, and they've done that.
·3· · · · ·They've -- they've won their island
·4· ·building campaign; they won't have to fire a shot.
·5· ·They probably won Taiwan.· They'll be unrestricted
·6· ·operating through the Panama Canal zone, down
·7· ·through Central and South America, the Caribbean,
·8· ·Africa, Afghanistan, the -- the Ring Road project.
·9· · · · ·They plan in hundreds of years in -- in
10· ·strategy.· One of the things that you mentioned,
11· ·the news, and the FBI, and all these other folks,
12· ·said that -- well, we never saw anything.
13· · · · ·It's because they weren't looking.
14· · · · ·MIKE LINDELL:· Right.
15· · · · ·COLONEL PHIL WALDRON:· They didn't know
16· ·where the look.· Just like General McInerney said,
17· ·this is an unprecedented cyber warfare attack.
18· · · · ·You have to understand that our
19· ·intelligence community works on national
20· ·intelligence priorities.· And they work generally
21· ·on band one and two.· In -- in the
22· ·counterterrorism we've got, you know, tar- --
23· ·targets -- priority targets that -- that we look
24· ·at and the -- those lower levels don't get looked
25· ·at.


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·1· · · · ·MIKE LINDELL:· That's so bizarre, because
·2· ·we talked about in this documentary, we talked
·3· ·about a movie, Kill Chain, that was last year, and
·4· ·even the Democrats in that -- my own Senator from
·5· ·Minnesota, Amy Klobuchar, talked about if these
·6· ·machines are used, we are vulnerable for an attack
·7· ·by a foreign country to take our -- to -- you
·8· ·know, interfere with our election.
·9· · · · ·And so with all that -- I mean, they made a
10· ·movie about it.· How come our intelligence teams
11· ·would not at least be looking for that; isn't that
12· ·strange?
13· · · · ·GENERAL MCINERNEY:· Let me interject.
14· ·You're -- you're being very kind to them.· There
15· ·is no way that our Cyber Command and NSA could
16· ·have ever missed the amount of cyber warfare that
17· ·went on in the early hours of 4 November.· There's
18· ·no way they could miss it.
19· · · · ·Now, I think we have a cancer there.· That
20· ·part of the military and that part of the
21· ·intelligence community, like the FBI missing it,
22· ·DHS missing it, there is no way that they could
23· ·miss it.· And that's extremely important, I think,
24· ·Mike.
25· · · · ·(End of the recording.)


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·1· · · · · · · · · ·C E R T I F I C A T E
·2
·3· · · · · · · · ·I, JACKIE MENTECKY, do hereby certify that
·4· ·I was authorized to transcribe the foregoing recorded
·5· ·proceeding, and that the transcript is a true and
·6· ·accurate transcription of my shorthand notes to the best
·7· ·of my ability taken while listening to the provided
·8· ·recording.
·9
10· ·Dated this 6th day of August, 2021.
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15· · · · · · · · · · · · · · ·__________________________
16· · · · · · · · · · · · · · ·JACKIE MENTECKY
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